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11                              UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
13                                 SAN FRANCISCO DIVISION
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15 SECURITIES AND EXCHANGE COMMISSION,             Case No. 4:22-cv-01967-JST
16                Plaintiff,
17         vs.                                     NOTICE OF WITHDRAWAL OF
                                                   COUNSEL FOR SECURITIES
18 HARI PRASAD SURE,                               AND EXCHANGE COMMISSION
   LOKESH LAGUDU,
19 CHOTU PRABHU TEJ PULAGAM,
   DILEEP KUMAR REDDY KAMUJULA,
20 SAI MOUNIKA NEKKALAPUDI,
   ABHISHEK DHARMAPURIKAR, and
21 CHETAN PRABHU SREE KARTEEK PULAGAM,

22                Defendants.
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     NOTICE OF WITHDRAWAL OF SEC COUNSEL                         CASE NO. 4:22-CV-01967-JST
               Case 4:22-cv-01967-JST Document 40 Filed 05/29/24 Page 2 of 2


 1             Pursuant to Local Civil Rule 11-5, the undersigned hereby provides notice of her
 2   withdrawal as counsel on behalf of Plaintiff Securities and Exchange Commission (“SEC”) in this
 3   matter.
 4             The SEC will continue to be represented by its remaining counsel of record.
 5

 6                                                   Respectfully submitted,
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 8
     DATED: May 29, 2024                             /s/ Susan F. LaMarca
 9                                                   Susan F. LaMarca
                                                     Attorney for Plaintiff
10                                                   SECURITIES AND EXCHANGE COMMISSION
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      NOTICE OF WITHDRAWAL OF SEC COUNSEL                                      CASE NO. 4:22-CV-01967-JST
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